                                                                                      Motion GRANTED
                           UNITED STATES DISTRICT COURT                               conditioned upon the
                    FOR THE MIDDLE DISTRICT COURT OF TENNESSEE
                                NASHVILLE DIVISION                                    filing of a waiver of
                                                                                      speedy trial.
UNITED STATES OF AMERICA                       )
                                               )
V.                                             )              No. 2:11-00002-25
                                               )
COURTNEY JO RABIDEAU                           )              Judge Trauger
                                               )


                               MOTION TO CONTINUE TRIAL

        Comes now the Defendant, Courtney Jo Rabideau, by and through her attorney, Bob

Lynch, Jr., and hereby moves to continue her trial which is presently set for October 22, 2013, at

9:00 a.m. until a date in the near future in order for the government and the Defendant to resolve

this case by plea agreement.

        In support of this motion, the Defendant would show the court the following:

     1. Defendant’s counsel and AUSA Blanche Cook have been negotiating in earnest to

        resolve this case by plea agreement.

     2. Both counsel agree that the parties need additional time to address and resolve certain

        issues as it relates to the Defendant’s responsibility for the appropriate drug quantity

        under the conspiracy. The resolution of this matter is very important to the Defendant’s

        ultimate sentencing. This case involves multiple wire taps with numerous captured

        conversations.

     3. Defendant’s counsel is meeting with AUSA Cook and her case agents on October 22,

        2013, at 10:00 a.m. in order to ultimately resolve the drug quantity issue.

     4. Undersigned counsel has discussed this matter by phone with Defendant, who is in

        custody. Defendant has consented to the motion to continue. A waiver of her speedy



                                                   1

Case 2:11-cr-00002         Document 1583           Filed 10/16/13    Page 1 of 1 PageID #: 4143
